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                                      United States Bankruptcy Court
                                       Middle District of Florida
In re:                                                                                 Case No. 18-04553-CCJ
Steven Alan Mayo                                                                       Chapter 7
         Debtor
                                        CERTIFICATE OF NOTICE
District/off: 113A-6          User: kbrickner               Page 1 of 2                  Date Rcvd: Jul 31, 2018
                              Form ID: 309A                 Total Noticed: 34


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Aug 02, 2018.
db             +Steven Alan Mayo,    2045 N Shannon Avenue,    Indialantic, FL 32903-2822
27694523       +Adv Collection Bureau,    1535 N Cogswell St Ste B-8,    Rockledge, FL 32955-2739
27694524       +Auto Max of Brevard,    1944 Aurora Rd,    Melbourne, FL 32935-4134
27694529       +Coastline Imaging,    2290 W Eau Gallie Blvd,    Melbourne, FL 32935-3133
27694534       +Health First,   6450 US Hwy 1,    Rockledge, FL 32955-5747
27694535       +Health First Medical Group,    3300 S Fiske Blvd,    Rockledge, FL 32955-4306
27694536        Jefferson Capital Systems,    PO Box 1999,    Saint Cloud, MN 56302
27694539       +Pollack & Rosen PA,    806 Douglas Road,    Suite 200,   Coral Gables, FL 33134-2082
27694540       +Preferred Collection &,    Attn: Bankruptcy,    1000 N. Ashley Dr. #600,    Tampa, FL 33602-3723
27694542        Space Coast Hearing,    and Balance,    1344 S Apollo Blvd St 301,   Melbourne, FL 32901-3185
27694543       +Spectrum Corporate Office,    4145 S Falkenburg Road,    Riverview, FL 33578-8652
27694545      #+T.D. Service Company,    4000 W Metropolitan Dr #400,    Orange, CA 92868-3503
27694546      #+Total Home Properties,    dba Total Home Roofing,    1180 S Rockledge Blvd,
                 Rockledge, FL 32955-2108
27694547       +US Bank Trust, NA,    13801 Wireless Way,    Oklahoma City, OK 73134-2500
27694549       +Waypoint Resource Group,    Attn: Bkc Dept,    PO Box 1081,   San Antonio, TX 78294-1081

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: e.enrique@enriquelawfirm.com Jul 31 2018 23:37:34       Eric John Enrique,
                 Eric Enrique, P.A.,    836 Executive Lane, Suite 120,   Rockledge, FL 32955
tr             +EDI: QAMAHENDRU.COM Aug 01 2018 03:23:00      Arvind Mahendru,    5703 Red Bug Lake Road,
                 Suite 284,   Winter Springs, FL 32708-4969
ust            +E-mail/Text: ustp.region21.or.ecf@usdoj.gov Jul 31 2018 23:38:28
                 United States Trustee - ORL7/13,    Office of the United States Trustee,
                 George C Young Federal Building,    400 West Washington Street, Suite 1100,
                 Orlando, FL 32801-2210
27694520        E-mail/Text: bctcbk@brevardtc.com Jul 31 2018 23:37:50       Brevard County Tax Collector,
                 Attn: Honorable Lisa Cullen, CFC,     Post Office Box 2500,    Titusville FL 32781-2500
27694525       +E-mail/Text: flbkecf@brockandscott.com Jul 31 2018 23:39:09       Brock and Scott, PLLC,
                 1501 NW 49th St #200,    Fort Lauderdale, FL 33309-3723
27694526       +E-mail/Text: ECMBKMail@Caliberhomeloans.com Jul 31 2018 23:40:32       Caliber Home Loans,
                 13801 Wireless Way,    Oklahoma City, OK 73134-2500
27694527       +E-mail/Text: ECMBKMail@Caliberhomeloans.com Jul 31 2018 23:40:31       Caliber Home Loans,
                 16745 W Bernardo Drive,    Ste 300,   San Diego, CA 92127-1908
27694528       +EDI: CAPITALONE.COM Aug 01 2018 03:23:00      Capital One,    Attn: Bkc Dept,    PO Box 30285,
                 Salt Lake City, UT 84130-0285
27694530       +EDI: WFNNB.COM Aug 01 2018 03:23:00      Comenity Bank/Bealls,    PO Box 182125,
                 Columbus, OH 43218-2125
27694531       +EDI: BLUESTEM Aug 01 2018 03:28:00      Fingerhut,   Attn: Bkc Dept,    6250 Ridgewood Rd,
                 Saint Cloud, MN 56303-0820
27694532       +EDI: AMINFOFP.COM Aug 01 2018 03:23:00      First Premier Bank,    601 S Minnesota Ave,
                 Sioux Falls, SD 57104-4868
27694521        EDI: FLDEPREV.COM Aug 01 2018 03:23:00      Florida Department of Revenue,    Bankruptcy Unit,
                 Post Office Box 6668,    Tallahassee FL 32314-6668
27694533       +Fax: 407-737-5634 Aug 01 2018 00:24:57      GMAC Mortgage,    c/o Ocwen Loan Servicing,
                 1661 Worthington Rd,    West Palm Beach, FL 33409-6488
27694522        EDI: IRS.COM Aug 01 2018 03:23:00      Internal Revenue Service,    Post Office Box 7346,
                 Philadelphia PA 19101-7346
27694537       +EDI: FORD.COM Aug 01 2018 03:28:00      Kia Motors Finance Co,    PO Box 20825,
                 Fountain Valley, CA 92728-0825
27694538       +E-mail/Text: bgiron@ncsplus.com Jul 31 2018 23:38:23       NCSPlus Incorporated,
                 117 East 24th Street,    5th Floor,   New York, NY 10010-2937
27694541       +EDI: SECFIN.COM Aug 01 2018 03:23:00      Professional Finance Srvs,    Attn: Bkc Dept,
                 PO Box 3146,   Spartanburg, SC 29304-3146
27694544       +EDI: RMSC.COM Aug 01 2018 03:23:00      Synchrony Bank/Walmart,    Attn: Bkc Dept,
                 PO Box 965060,   Orlando, FL 32896-5060
27694548       +EDI: VERIZONCOMB.COM Aug 01 2018 03:23:00      Verizon Wireless,    Attn: Bankruptcy Dept,
                 PO Box 3397,   Bloomington, IL 61702-3397
                                                                                              TOTAL: 19

           ***** BYPASSED RECIPIENTS *****
NONE.                                                                                         TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’#’ were identified by the USPS National Change of Address system as requiring an update.
While the notice was still deliverable, the notice recipient was advised to update its address with the court
immediately.
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             ***** BYPASSED RECIPIENTS (continued) *****


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Aug 02, 2018                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on July 31, 2018 at the address(es) listed below:
              Arvind Mahendru    amtrustee@gmail.com, amahendru@ecf.epiqsystems.com
              Eric John Enrique   on behalf of Debtor Steven Alan Mayo e.enrique@enriquelawfirm.com,
               bankruptcy.paralegal@rocketmail.com
              United States Trustee - ORL7/13   USTP.Region21.OR.ECF@usdoj.gov
                                                                                            TOTAL: 3
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Information to identify the case:
Debtor 1              Steven Alan Mayo                                                  Social Security number or ITIN        xxx−xx−3471
                      First Name   Middle Name     Last Name                            EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                                Social Security number or ITIN _ _ _ _
                      First Name   Middle Name     Last Name
(Spouse, if filing)
                                                                                        EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court            Middle District of Florida
                                                                                        Date case filed for chapter 7 7/30/18
Case number:          6:18−bk−04553−CCJ


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                             12/15

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                     About Debtor 2:

1.      Debtor's full name                       Steven Alan Mayo

2.      All other names used in the
        last 8 years

3.     Address                               2045 N Shannon Avenue
                                             Indialantic, FL 32903

4.     Debtor's attorney                     Eric John Enrique                                      Contact phone (321) 610−2121
                                             Eric Enrique, P.A.
       Name and address                      836 Executive Lane, Suite 120                          Email: e.enrique@enriquelawfirm.com
                                             Rockledge, FL 32955

5.     Bankruptcy Trustee                    Arvind Mahendru                                        Contact phone (407) 504−2462
                                             5703 Red Bug Lake Road
       Name and address                      Suite 284
                                             Winter Springs, FL 32708

Notice is further given that effective on the date of the Petition, the United States Trustee appointed the above named individual as interim
trustee pursuant to 11 USC § 701.
                                                                                                               For more information, see page 2 >
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                    page 1
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Debtor Steven Alan Mayo                                                                                      Case number 6:18−bk−04553−CCJ


6. Bankruptcy Clerk's Office                   George C. Young Federal Courthouse                           Hours open:
                                               400 West Washington Street                                   Monday − Friday 8:30 AM −
   Documents in this case may be filed at this Suite 5100                                                   4:00PM
   address. You may inspect all records filed Orlando, FL 32801
   in this case at this office or online at
   www.pacer.gov.                                                                                           Contact phone 407−237−8000

                                                                                                            Date: July 31, 2018

7. Meeting of creditors                         September 4, 2018 at 09:30 AM                               Location:

   Debtors must attend the meeting to be        The meeting may be continued or adjourned to a George C. Young Courthouse,
   questioned under oath. In a joint case,      later date. If so, the date will be on the court Suite 1203−B, 400 West
   both spouses must attend. Creditors may
   attend, but are not required to do so. You   docket.                                          Washington Street, Orlando, FL
   are reminded that Local Rule 5073−1                                                           32801
   restricts the entry of personal electronic     *** Debtor(s) must present Photo ID and acceptable
   devices into the Courthouse.                  proof of Social Security Number at § 341 meeting. ***


8. Presumption of abuse                         The presumption of abuse does not arise.

   If the presumption of abuse arises, you
   may have the right to file a motion to
   dismiss the case under 11 U.S.C. §
   707(b). Debtors may rebut the
   presumption by showing special
   circumstances.


9. Deadlines                                  File by the deadline to object to discharge or                Filing deadline: November 5, 2018
                                              to challenge whether certain debts are
   The bankruptcy clerk's office must receive dischargeable:
   these documents and any required filing
   fee by the following deadlines.
                                                You must file a complaint:
                                                • if you assert that the debtor is not entitled to
                                                  receive a discharge of any debts under any of the
                                                  subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                  or

                                                • if you want to have a debt excepted from discharge
                                                  under 11 U.S.C § 523(a)(2), (4), or (6).

                                                You must file a motion:
                                                • if you assert that the discharge should be denied
                                                  under § 727(a)(8) or (9).


                                                Deadline to object to exemptions:                           Filing deadline: 30 days after the
                                                The law permits debtors to keep certain property as         conclusion of the meeting of creditors
                                                exempt. If you believe that the law does not authorize an
                                                exemption claimed, you may file an objection.


10. Proof of claim                              No property appears to be available to pay creditors. Therefore, please do not file a
                                                proof of claim now. If it later appears that assets are available to pay creditors, the clerk
   Please do not file a proof of claim unless   will send you another notice telling you that you may file a proof of claim and stating the
   you receive a notice to do so.               deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a
                                     motion asking the court to extend the deadlines in this notice. Consult an attorney
                                     familiar with United States bankruptcy law if you have any questions about your rights
                                     in this case.

12. Exempt property                             The law allows debtors to keep certain property as exempt. Fully exempt property will
                                                not be sold and distributed to creditors. Debtors must file a list of property claimed as
                                                exempt. You may inspect that list at the bankruptcy clerk's office or online at
                                                www.pacer.gov. If you believe that the law does not authorize an exemption that the
                                                debtors claim, you may file an objection. The bankruptcy clerk's office must receive the
                                                objection by the deadline to object to exemptions in line 9.

13. Voice Case Info. System                     McVCIS provides basic case information concerning deadlines such as case opening and closing
    (McVCIS)                                    date, discharge date and whether a case has assets or not. McVCIS is accessible 24 hours a day
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                                              except when routine maintenance is performed. To access McVCIS toll free call
                                              1−866−222−8029.
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline       page 2
